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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

    CRISTINA NICHOLE IGLESIAS                    )
    (a.k.a. CRISTIAN NOEL IGLESIAS,              )
                                                 )
                               Plaintiff,        )
                                                 )    Case No. 19-cv-00415-NJR
                       v.                        )
                                                 )
    IAN CONNORS, et al.,                         )
                                                 )
                               Defendants.       )

                OPPOSITION TO PLAINTIFFS’ MOTION FOR LEAVE
        TO FILE SECOND AMENDED COMPLAINT BY FORMER DEFENDANTS
             FEDERAL BUREAU OF PRISONS AND FEDERAL OFFICIALS

         Former Defendants Michael Carvajal, Chris Bina, Ian Connors, Dan Sproul, Jeffrey

Allen, Alix McLearen, Thomas Scarantino, and Donald Lewis, in their official capacities only

(collectively, the “Federal Officials”), and the Federal Bureau of Prisons (“BOP”) oppose in part

Plaintiff’s Motion for Leave to File Second Amended Complaint, ECF No. 85 (“Motion”). 1

Although BOP does not oppose an amended pleading that includes a constitutional claim against

the agency, Plaintiff’s proposed complaint includes futile claims against federal employees in

their official capacities that would not survive screening under the Prison Litigation Reform Act

(“PLRA”). See 28 U.S.C. § 1915A. 2



1
 This opposition is made without prejudice to BOP and the Federal Officials’ right to assert any
appropriate argument in a motion to dismiss under Federal Rule of Civil Procedure 12 or other
motion or pleading in this matter should the Court grant Plaintiff’s motion to amend.
2
 In the Motion, Plaintiff suggests that the Court may not need to screen an amended pleading
under 28 U.S.C. § 1915A. Mot. at 3-4. A plaintiff may not avoid PLRA screening merely by
amending a pleading. See Mason v. Berres, No. 19-CV-1103-PP, 2021 WL 50882, at *1 (E.D.
Wis. Jan. 6, 2021), reconsideration denied sub nom. Mason v. Clover, No. 19-CV-1103-PP, 2021
WL 424159 (E.D. Wis. Feb. 8, 2021); Taylor v. Sutterer, No. 19-CV-00044-NJR, 2019 WL
6701917, at *1 (S.D. Ill. Dec. 9, 2019); Fowler v. Kroll, No. 14-CV-28-WMC, 2014 WL
3756304, at *4 (W.D. Wis. July 30, 2014).
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                                PROCEDURAL BACKGROUND

        On September 8, 2020, Plaintiff filed a First Amended Complaint that sought injunctive

and declaratory relief based on three claims related to Plaintiff’s status as a transgender woman

incarcerated in a male facility. ECF No. 52, ¶¶ 94-114 (counts) & p. 25 (prayer for relief). That

pleading seeks only injunctive relief and names as defendants BOP as well as numerous BOP

officials in both their individual and official capacities. Id. at 1. Pursuant to the PLRA, the

Court screened the pleading for merit. See 28 U.S.C. § 1915A. The Court’s screening order

allowed Plaintiff’s claims under Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971),

against the Federal Officials in their individual capacities to move forward and dismissed

without prejudice Plaintiff’s claims against BOP on the ground that BOP is not a person subject

to suit under Bivens. ECF No. 70 at 2-3. The Court’s order also implicitly dismissed the official

capacity claims against the Federal Officials, because such claims are properly brought only

against the agency, precluding a cause of action under Bivens. See Glaus v. Anderson, 408 F.3d

382, 389 (7th Cir. 2005) (“[F]ederal prisoners suing under Bivens may sue relevant officials in

their individual capacity only.”); see also Kentucky v. Graham, 473 U.S. 159, 165-67 (1985)

(“[A]n official-capacity suit is, in all respects other than name, to be treated as a suit against the

entity.”).

        Plaintiff then moved for reconsideration in part, contending that the First Amended

Complaint asserted claims against BOP directly under the Constitution, not pursuant to Bivens.

ECF No. 74. In response to the motion for reconsideration, BOP agreed that the agency is

subject to suit under the Constitution and did not object to reconsideration of the Court’s

screening order on that issue. ECF No. 76 at 1. BOP also noted that Plaintiff appropriately did

not move for reconsideration of the Court’s dismissal of the official capacity claims against the



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Federal Officials, as such claims would be redundant of claims against BOP. Id. (citing Graham,

473 U.S. at 165-167; Jungels v. Pierce, 825 F.2d 1127, 1129 (7th Cir. 1987); Kielbasa v. Ill.

E.P.A., No. 02-C-4223, 2003 WL 880995, at *3 (N.D. Ill. Mar. 2, 2003)). Rather than await the

Court’s decision on the motion for reconsideration, Plaintiff filed the instant Motion, seeking

leave to file a proposed Second Amended Complaint.

                                    STANDARD OF REVIEW

        Although leave to amend should “be freely given when justice so requires, Fed. R. Civ. P.

15(a), “the district need not allow an amendment . . . when the amendment would be futile.”

Bethany Phamacal Co., Inc. v. QVC, Inc., 241 F.3d 854, 860-61 (7th Cir. 2001); see also Jones

v. Bock, 549 U.S. 199, 214 (2007) (standard same for PLRA cases). An amendment is futile if it

would not withstand a motion to dismiss. Vargas-Harrison v. Racine Unified Sch. Dist., 272

F.3d 964, 974 (7th Cir. 2001).

                                            ARGUMENT

        Granting Plaintiff leave to file the proposed Second Amended Complaint that includes

official capacity claims against the Federal Officials for injunctive relief would be futile because

they are redundant of the claims against BOP. As the Seventh Circuit has held, an official

capacity claim “is a claim against [the individual’s] office, for which his employer . . . would be

liable, [and] it is no different than [the plaintiff’s] claim against the [employer] itself.”

Thanongsinh v. Bd. of Educ., 462 F.3d 762, 772 n.7 (7th Cir. 2006); see also Jungels, 825 F.2d at

1129 (“[N]othing was added by adding the [government official] in his official capacity.”).

Here, as already stated in Defendants’ response to Plaintiff’s motion for reconsideration,

although BOP reserves the right to file a dispositive motion, BOP does not object to the

complaint including Eighth Amendment claims for injunctive relief against the agency. See ECF



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No. 76. Given that Plaintiff can obtain any appropriate relief directly against BOP, the inclusion

of official capacity claims against federal officials seeking the identical injunctive relief is

inappropriate. Indeed, Plaintiff fails to explain why such official capacity claims seeking

injunctive relief against federal officials are either appropriate or necessary. Under these

circumstances, such claims are “properly dismissed by the district court.” Thanongsinh, 462

F.3d at 772 n.7; see also King v. City of Crestwood, Mo., 899 F.3d 643, 650 (8th Cir. 2018) (“[A]

suit against a government official in only his official capacity should be dismissed as redundant

if the employing entity is also named.”); Baar v. Jefferson Cty. Bd. of Educ., 476 F. App’x 621,

634 (6th Cir. 2012); Kielbasa, 2003 WL 880995, at *3 (dismissing with prejudice official

capacity claims when the federal agency was the proper defendant). Allowing Plaintiff to file an

amended pleading asserting such claims would therefore be futile. The Court should deny

Plaintiff’s Motion in part and reject Plaintiff’s request to include official capacity claims for

injunctive relief against individual federal officials.




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Dated: February 18, 2021           Respectfully submitted,


                                   Brian M. Boynton
                                   Acting Assistant Attorney General

                                   ALEXANDER K. HAAS
                                   Director, Federal Programs Branch

                                   /s/ Joshua E. Gardner
                                   JOSHUA E. GARDNER
                                   Special Counsel
                                   GARY D. FELDON
                                   Trial Attorney
                                   United States Department of Justice
                                   Federal Programs Branch
                                   1100 L Street NW, Room 11502
                                   Washington, DC 20530
                                   Tel.: (202) 305-7583
                                   Fax: (202) 616-8470
                                   Email: Joshua.e.gardner@usdoj.gov

                                   Counsel for Federal Bureau of Prisons




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